  Case
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     G5 (20200113_bko)      49  Filed 03/10/21 Entered 03/10/21 11:15:00               Desc Main
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                            UNITED STATES BANKRUPTCY COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                       Eastern Division

In Re:                                         )         Case Number: 20-02010
TINA GUIDER                                    )
                                               )              Chapter: 13
                                               )
                                               )                       Honorable LaShonda A. Hunt
                                               )                         Joliet
                Debtor(s)                      )

             AGREED ORDER PROVIDING FOR STAY RELIEF UPON DEFAULT

      THIS CAUSE coming to be heard on the motion of THE BANK OF NEW YORK MELLON, F/
K/A THE BANK OF NEW YORK AS TRUSTEE FOR REGISTERED HOLDERS OF CWABS, INC.,
ASSET-BACKED CERTIFICATES, SERIES 2004-5 (hereinafter, “Creditor”), for property located at
16773 Hazelwood Dr, Plainfield, IL 60544, the Court having jurisdiction over the subject matter:

     IT IS HEREBY ORDERED:

     1. That beginning with the first payment due after filing, the debtor must commence making
timely post-petition payments continuing throughout the pendency of the bankruptcy;

      2. That a payment is considered "timely", if the full payment is received in the office of Creditor
on or before the 15th day of the month in which it is due and a late charge is due on all payments
received after the 15th day of the month (this provision applies only to the triggering of this order and
does not affect what constitutes currency of the loan post-petition);

      3. That if Creditor fails to receive two "timely" post-petition monthly mortgage payments and if
the debtor fails to bring the loan post-petition current within fourteen (14) calendar days after mailing
notification to the Debtor and her attorney, the stay shall be automatically terminated as to Creditor, its
principals, agents, successors and/or assigns as to the property securing its interest, upon filing of notice
of same with the clerk of the court;

      4. Creditor’s post-petition bankruptcy fees and costs of $1,238.00 are allowed and may be added
to the indebtedness secured by the subject mortgage. These fees and costs have not been paid. Creditor
will file a Notice of Post-petition Mortgage Fees under Rule 3002.1 for any fees, expenses and charges.

      5. In the event that Creditor should have to send out any Notices of Default, Creditor may
include up to $100 per notice, as additional attorney fees, that the Debtor must pay in addition to
whatever funds are needed to cure the default and that said additional funds must be tendered prior to
the expiration of the cure period set forth in the Notice.

      6. Upon dismissal, discharge, chapter conversion, or relief from stay, the foregoing terms and
conditions shall cease to be binding, payments will be due pursuant to the terms of the original loan
agreement and the automatic stay is terminated and Movant may proceed to enforce its remedies under
applicable non-bankruptcy law against the Real Property and/or against Debtor.
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             /s/ Terri M. Long               /s/ John Ellmann
           Attorney for Creditor            Attorney for Debtor

                                                  Enter:


                                                           Honorable LaShonda A. Hunt
Dated: 0DUFK                                      United States Bankruptcy Judge

Prepared by:
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